               Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 1 of 20 Page ID #:186




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                 5
                 6 Attorneys for Defendant Swift Transportation Co. of Arizona, LLC. erroneously
                   named and served as Swift Transportation Company,Inc.
                 7
                 8
                 9                                   UNITED STATES DISTRICT COURT
                l0i                                 CENTRAL DISTRICT OF CALIFORNIA
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~v
  ~~~m          12 JAMES JOHNSON,an individual,                      Case No. 2:19-cv-04455-GW-JC
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~3~¢~           13                      Plaintiff,                   DEFENDANT SWIFT
(7JQZ LL
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                                                                     TRANSPORTATION CO. OF
  ~»~           14             v.                                    ARIZONA'S ANSWER TO
Z                                                                    PLAINTIFF'S COMPLAINT
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     ~J O       15 SWIFT TRANSPORTATION,INC., an
    ~W~
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                   Arizona Corporation, and DOES 1                   Trial Date:        None Set
    ~a ~        16 through 20, inclusive,
o ~ ~' W
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~ ~             17                      Defendants.


                19             COMES NOW DEFENDANT SWIFT TRANSPORTATION CO. OF
                20 ARIZONA,LLC ("Defendant") erroneously sued as Swift Transportation Inc. to
                21 answer the Complaint for Damages("Complaint")filed by Plaintiff JAMES
                22 JOHNSON ("Plaintiff') and admits, denies, and alleges as follows:
                23             1.       Answering Paragraph 1, Defendant submits that this Court has subject
                24 matter jurisdiction to hear this case because complete diversity exists and Plaintiff's
                25 stated amount in controversy exceeds the jurisdictional minimum set forth in this
                26 Court.
                27             2.       Answering Paragraph 2, Defendant lacks information sufficient to form
                28 a belief as to the truth ofthe allegations in Paragraph 2 ofthe Complaint and
                      LEGAL:05742-0024/11798056.1                                                  Case No.
                        DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
               Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 2 of 20 Page ID #:187




                  1 ~~ therefore denies, generally and specifically, each and every allegation.
                  2             3.        Answering Paragraph 3, Defendant denies the allegations in contained
                 3 in Paragraph 3 ofthe Complaint. Swift Transportation Inc. is not an existing entity.
                 4 Defendant admits, Swift Transportation Co. of Arizona, LLC is a limited liability
                 5 ~ company organized under the laws of Delaware and is an existing entity with its
                 6 principal place of business located at 2200 S. 75th Avenue,Phoenix, Arizona 85043.
                 7,             4.        Answering Paragraph 4, Defendant admits that it is a long haul motor
                 8 carrier who operates trucks throughout California. Except as specifically admitted,
                 9 Defendant denies, generally and specifically, each and every allegation in Paragraph
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a
J               11              5.        Answering Paragraph 5, Defendant admits that Plaintiff was employed
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      LL ~ ~    12 as a Driver in California. Except as specifically admitted, Defendant denies,
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m ~~~           13 generally and specifically, each and every allegation in Paragraph 5.
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                14             6.         Answering Paragraph 6, Defendant lacks information sufficient to form
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                15 a belief as to the truth ofthe allegations in Paragraph 6 ofthe Complaint and
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u~i ~ ¢ o       16 therefore denies, generally and specifically, each and every allegation in Paragraph
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                18             7.         Answering Paragraph 7, Defendant lacks information sufficient to form
                19 a belief as to the truth ofthe allegations in Paragraph 7 ofthe Complaint and
                20 therefore denies, generally and specifically, each and every allegation in Paragraph
                21 7.
                22             8.         Answering Paragraph 8, Defendant lacks information sufficient to form
                23 a belief as to the truth ofthe allegations in Paragraph 8 ofthe Complaint and
                24 therefore denies, generally and specifically, each and every allegation in Paragraph
                25
                26             9.         Answering Paragraph 9, Defendant submits that no answer is required
                27 to Paragraph 9, which merely purports to recite Plaintiff's belief concerning alleged
                28 acts. To the extent that Paragraph 9 asserts conclusions of law, it neither requires
                      LEGAL:05742-0024/1 1 798056.1                  _2_                                 Case No.
                        DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
                 Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 3 of 20 Page ID #:188




                    1 nor warrants a response. Except as specifically admitted, Defendant denies,
                   2 ~ generally and specifically, each and every allegation in Paragraph 9.
                   3            10.      Answering Paragraph 10, Defendant submits that no answer is required
                   4 ~ to Paragraph 10, which merely purports to recite Plaintiff's causes of action. To the
                   5 ~ extent that Paragraph 10 asserts conclusions oflaw, it neither requires nor warrants a
                   6 ~ response. Except as specifically admitted, Defendant denies, generally and
                   7 ~ specifically, each and every allegation in Paragraph 10.
                   8            11.      Answering Paragraph 11, Defendant lacks information sufficient to
                   9 form a belief as to the truth ofthe allegations in Paragraph 11 ofthe Complaint and
                  10 therefore denies, generally and specifically, each and every allegation in Paragraph
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                  11 11. To the extent that Paragraph 11 asserts conclusions oflaw, it neither requires nor
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                  12 ~ warrants a response. Except as specifically admitted, Defendant denies, generally
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m         ~ ~,    13 and specifically, each and every allegation in Paragraph 11.
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                  14            12.      Answering Paragraph 12 and its subparts, generally, Defendant lacks
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         a        15 information sufficient to form a belief as to the truth ofthe allegations in Paragraph
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~     ~¢o         16 12 and its subparts ofthe Complaint and therefore denies, generally and specifically,
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o --              17 each and every allegation in Paragraph 12 and its subparts. To the extent that
                  18 Paragraph 12 and its subparts asserts conclusions oflaw, it neither requires nor
                  19 warrants a response. Except as specifically admitted, Defendant denies, generally
                  20 and specifically, each and every allegation in Paragraph 12 and its subparts.
                  21            13.      Answering Paragraph 13, Defendant submits that no answer is required
                  22 to Paragraph 13, as it asserts conclusions oflaw, which neither require nor warrants
                  23 a response. Except as specifically admitted, Defendant denies, generally and
                  24 specifically, each and every allegation in Paragraph 13.
                  25            14.      Answering Paragraph 14, Defendant admits that Plaintiff was employed
                  26 ~ as a Driver in California for Defendant. Except as specifically admitted, Defendant
                  27 denies, generally and specifically, each and every allegation in Paragraph 14.
                  28            15.      Answering Paragraph 15, Defendant submits that no answer is required
                       LEGAL:05742-0024/11798056.1                  _3_                                 Case No.
                         DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
              Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 4 of 20 Page ID #:189




                   1 ~~ to Paragraph 15, as it asserts conclusions of law, which neither require nor warrants
                   2 ~ a response Except as specifically admitted, Defendant denies, generally and
                   3 ~ specifically, each and every allegation in Paragraph 15.
                   4            16.      Answering Paragraph 16, Defendant admits that Plaintiff was employed
                   5 ~ as a Driver in California for Defendant on or about July 7, 2017. Except as
                   6 ~ specifically admitted, Defendant denies, generally and specifically, each and every
                   7 allegation in Paragraph 16.
                   8            17.      Answering Paragraph 17, Defendant denies the allegations contained in
                   9 ~ Paragraph 17.
               101              18.      Answering Paragraph 18, Defendant admits Plaintiff claims he injured
g              11 himself during the course and scope of his job duties. As to the remaining
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               12 allegations, Defendant denies, generally and specifically, each and every allegation
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               13 in Paragraph 18, except as specifically admitted.
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               1                19.      Answering Paragraph 19, Defendant lacks information sufficient to
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=a~ J g        15 form a belief as to the truth ofthe allegations in Paragraph 19 ofthe Complaint and
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   ~¢=         16 therefore denies, generally and specifically, each and every allegation in Paragraph
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               ~,               20.      Answering Paragraph 20, Defendant denies Plaintiff went to the doctor
               19 on November 14, 2018. Upon information and belief, Plaintiff's first doctor's visit
               20 for the alleged injury sustained on November 13, 2018 was on November 16, 2018.
               21 Plaintiff was released to full duty on November 16, 2018. As to the remaining
               22 allegations, Defendant lacks information sufficient to form a belief as to the truth of
               23 the allegations in Paragraph 20 ofthe Complaint and therefore denies, generally and
               24 specifically, the remaining allegations in Paragraph 20.
               25               21.      Answering Paragraph 21, Defendant denies Plaintiff was given a return
               26 to work notice with restrictions on November 14, 2018. Upon information and
               27 belief, Plaintiff's first visit with his doctor was November 16, 2018 wherein he was
               281 provided a return to work notice without restrictions at that appointment. As to the
                       LEGAL:05742-0024/11798056.1                  _4_                                 Case No.
                         DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                 1 remaining allegations, Defendant lacks information sufficient to form a belief as to
                 2 the truth ofthe allegations in Paragraph 21 ofthe Complaint and therefore denies,
                 3 ~ generally and specifically, each and every allegation in Paragraph 21.
                4              22.       Answering Paragraph 22, Defendant admits Plaintiff was issued a
                 5 ~ return to work notice without restrictions on November 16, 2018. As to the
                6 remaining allegations, Defendant lacks information sufficient to form a belief as to
                7 the truth ofthe allegations in Paragraph 22 ofthe Complaint and therefore denies,
                E:~ generally and specifically, the remaining allegations in Paragraph 22.
                L]            23.        Answering Paragraph 23, Defendant admits Plaintiff was returned to
               10 ~ work without restrictions on November 16, 2018. As to the remaining allegations,
g              11 Defendant lacks information sufficient to form a belief as to the truth ofthe
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    °~~        12 allegations in Paragraph 23 ofthe Complaint and therefore denies, generally and
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atf 3~¢'~      13 specifically, the remaining allegations in Paragraph 23.
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               14             24.       Answering Paragraph 24, Defendant admits it terminated Plaintiff.
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               15 Defendant denies, generally and specifically, all remaining allegations in Paragraph
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~ ~            17             25.       Answering Paragraph 25, Defendant admits the allegations in
               18 ~ Paragraph 25.
               19             26.       Answering Paragraph 26, Defendant denies the allegations in Paragraph
               20 26.
               21             27.       Answering Paragraph 27, Defendant denies the allegations in Paragraph
               22 27.
               23             28.       Answering Paragraph 28, Defendant denies the allegations in Paragraph
               24 I:
               25             29.       Answering Paragraph 29, Defendant submits that no answer is required
               26 to Paragraph 29, as it asserts conclusions oflaw, which neither require nor warrants
               27 a response. To the extent a response is required, Defendant lacks information
               28 ~ ~ sufficient to form a belief as to the truth ofthe allegations in Paragraph 29 ofthe
                     LEGAL:05742-0024/1 1 798056.1                  _5_                                Case No.
                       DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
             Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 6 of 20 Page ID #:191




                1 Complaint and therefore denies, generally and specifically, each and every
               2 allegation in Paragraph 29.
               3            30.      Answering Paragraph 30, Defendant lacks information sufficient to
               4 forth a belief as to the truth ofthe allegations in Paragraph 30 ofthe Complaint and
               5 therefore denies, generally and specifically, each and every allegation in Paragraph
               6 30.
               7            31.      Answering Paragraph 31, Defendant denies the allegations in Paragraph
               8 131.
               9            32.      Answering Paragraph 32, Defendant submits that no answer is required
              10 to Paragraph 32, as it asserts conclusions oflaw, which neither require nor warrants
g             11 a response. To the extent a response is required, Defendant denies, generally and
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              12 specifically, each allegation in Paragraph 32.
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    W°~~      13            33.      Answering Paragraph 33, Defendant denies the allegations in Paragraph
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    ~¢~       16            34.      Answering Paragraph 34, Defendant incorporates by reference its
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~ ~           17 responses to Paragraphs 1 through 33 of the Complaint.
              f:            35.      Answering Paragraph 35, Defendant states that to the extent Paragraph
              19 35 purports to be a statement oflaw, it does not require or permit a response.
              20            36.      Answering Paragraph 36, Defendant states that to the extent Paragraph
              21 36 purports to be a statement oflaw, it does not require or permit a response.
              22            37.      Answering Paragraph 37, Defendant denies the allegations in Paragraph
              23 37.
              24            38.      Answering Paragraph 38, Defendant denies the allegations in Paragraph
              25 I:
              26            39.      Answering Paragraph 39, Defendant submits that to the extent
              27 Paragraph 39 references a document, Defendant states the document speaks for
              28 itself, and thus no response is required or permitted.
                   LEGAL:05742-0024/11798056.1                  _6_                                 Case No.
                     DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
                 Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 7 of 20 Page ID #:192




                    1              40.       Answering Paragraph 40, Defendant denies the allegations in Paragraph
                   2 I'1
                   3              41.        Answering Paragraph 41, Defendant denies the allegations in Paragraph
                   4 141.
                   5              42.       Answering Paragraph 42, Defendant denies the allegations in Paragraph
                   6 42.
                   7              43.       Answering Paragraph 43, Defendant denies the allegations in Paragraph
                   8 43.
                   9              44.       Answering Paragraph 44, Defendant denies the allegations in Paragraph
                  10 I~~
g                 11                                         Second Cause of Action
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,tS;o¢ ~   °'~    13 responses to Paragraphs 34 through 44 ofthe Complaint.
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                  14              46.       Answering Paragraph 46, Defendant states that to the extent Paragraph
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                  15 46 purports to be a statement oflaw, it does not require or permit a response.
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  ~¢=             16              47.       Answering Paragraph 47, Defendant denies the allegations in Paragraph
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                  j~'?            48.       Answering Paragraph 48, Defendant submits that no answer is required
                  19 to Paragraph 48 as it asserts conclusions of law, which neither require nor warrant a
                  20 response. To the extent a response is required, Defendant lacks information
                  21 sufficient to form a belief as to the truth ofthe allegations in Paragraph 48 ofthe
                  22 Complaint and therefore denies, generally and specifically, each and every
                  23 allegation in Paragraph 48.
                  24              49.       Answering Paragraph 49, Defendant denies the allegations in Paragraph
                  25 ..
                  26              50.       Answering Paragraph 50, Defendant denies the allegations in Paragraph
                  27 50.
                  28               51.      Answering Paragraph 51, Defendant denies the allegations in Paragraph

                         LEGAL:05742-0024/1 1 798056.1                  _7_                                Case No.
                           DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                   1 51.
                  2             52.      Answering Paragraph 52, Defendant denies the allegations in Paragraph
                  3 52.
                  4                                       Third Cause of Action
                  5             53.      Answering Paragraph 53, Defendant incorporates by reference its
                  6 responses to Paragraphs 45 through 52 ofthe Complaint.
                  7             54.      Answering Paragraph 54, Defendant denies the allegations in Paragraph
                  8 54.
                  9             55.      Answering Paragraph 55, Defendant submits that no answer is required
                 10 to Paragraph 55 as it asserts conclusions oflaw, which neither require nor warrant a
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J                11 response.
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      LL         12             56.      Answering Paragraph 56, Defendant submits that no answer is required
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m ~-m~           13 to Paragraph 56 as it asserts conclusions oflaw, which neither require nor warrant a
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                 14 response.
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           0     15             57.      Answering Paragraph 57, Defendant denies the allegations in Paragraph
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                 17             58.      Answering Paragraph 58, Defendant denies the allegations in Paragraph
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                 19             59.      Answering Paragraph 59, Defendant denies the allegations in Paragraph
                 20 59.
                 21             60.      Answering Paragraph 60, Defendant denies the allegations in Paragraph
                 22 .1
                 23             61.      Answering Paragraph 61, Defendant denies the allegations in Paragraph
                 24 61.
                 25                                      Fourth Cause of Action
                 26             62.      Answering Paragraph 62, Defendant incorporates by reference its
                 27 responses to Paragraphs 53 through 61 of the Complaint.
                 281            63.      Answering Paragraph 63, Defendant submits that no answer is required
                       LEGAL:05742-0024/11798056.I                  i                                  Case No.
                         DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
                 Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 9 of 20 Page ID #:194




                    1 to Paragraph 63 as it asserts conclusions of law, which neither require nor warrant a
                   2 response. To the extent a response is required, Defendant denies the allegations in
                   3 Paragraph 63.
                   4            64.       Answering Paragraph 64, Defendant denies the allegations in Paragraph
                   5 I.~
                   6            65.       Answering Paragraph 65, Defendant denies the allegations in Paragraph
                   7 65.
                   8            66.       Answering Paragraph 66, Defendant denies the allegations in Paragraph
                   9 ..
                  10            67.       Answering Paragraph 67, Defendant submits no response is required
g                 11 nor warranted. All responses are incorporated herein by reference.
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                  12            68.       Answering Paragraph 68, Defendant denies the allegations in Paragraph
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  d» ~            14            69.       Answering Paragraph 69, Defendant denies Plaintiff is entitled to
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     W p          15 attorneys' fees and costs. Defendant denies any remaining allegations in Paragraph
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~ ~               17                                        Fifth Cause of Action
                  18            70.       Answering Paragraph 70, Defendant incorporates by reference its
                  19 responses to Paragraphs 62 through 69 of the Complaint.
                  20            71.       Answering Paragraph 71, Defendant submits that no answer is required
                  21 to Paragraph 71 as it asserts conclusions of law, which neither require nor warrant a
                  22 response. To the extent a response is required, Defendant denies the allegations in
                  23 Paragraph 71.
                  24            72.       Answering Paragraph 72, Defendant denies the allegations in Paragraph
                  25. 72.
                  26            73.       Answering Paragraph 73, Defendant denies the allegations in Paragraph
                  27 173.
                  28            74.       Answering Paragraph 74, Defendant denies the allegations in Paragraph

                       LEGAL:05742-0024/1 1798056.1                   _9_                                     Case No.
                         DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
                Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 10 of 20 Page ID #:195




                    1 74.
                   2             75.      Answering Paragraph 75, Defendant submits no response is required
                   3 nor warranted. All responses are incorporated herein by reference.
                   4             76.      Answering Paragraph 76, Defendant denies the allegations in Paragraph
                   5 76.
                   6             77.      Answering Paragraph 77, Defendant denies Plaintiff is entitled to
                   7 attorneys' fees and costs. Defendant denies any remaining allegations in Paragraph
                   8 77.
                   9                                       Sixth Cause of Action
                  10             78.      Answering Paragraph 78, Defendant incorporates by reference its
g                 11 responses to Paragraphs 70 through 77 of the Complaint.
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  ~~m             ~~             79.      Answering Paragraph 79, Defendant submits that no answer is required
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,~tS ;o           13 to Paragraph 79 as it asserts conclusions oflaw, which neither require nor warrant a
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                  14 response. To the extent a response is required, Defendant denies the allegations in
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=Q ~ W °°~a       15 Paragraph 79.
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  ~a=             16            80.       Answering Paragraph 80, Defendant submits that no answer is required
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~ ~               17 to Paragraph 80 as it asserts conclusions oflaw, which neither require nor warrant a
                  18 response. To the extent a response is required, Defendant denies the allegations in
                  19 Paragraph 80.
                  20             81.      Answering Paragraph 81, Defendant denies the allegations in Paragraph
                  21 E:~
                  22             82.      Answering Paragraph 82, Defendant denies the allegations in Paragraph
                  23 IE: ►.
                  24             83.      Answering Paragraph 83, Defendant denies the allegations in Paragraph
                  25.IE:~C~
                  26             84.      Answering Paragraph 84, Defendant submits that no answer is required
                  27 to Paragraph 84 as it asserts conclusions of law, which neither require nor warrant a
                  28 response. To the extent a response is required, Defendant denies the allegations in
                        LEGAL:05742-0024/11798056.1                  _ 1 Q_                                   Case No.
                          DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
            Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 11 of 20 Page ID #:196




               1 Paragraph 84.
               2            85.      Answering Paragraph 85, Defendant denies the allegations in Paragraph
               3 I:
               4            86.      Answering Paragraph 86, Defendant submits no response is required
               5 nor warranted. All responses are incorporated herein by reference.
               6            87.      Answering Paragraph 87, Defendant denies the allegations in Paragraph
               7
               8            88.      Answering Paragraph 88, Defendant denies Plaintiff is entitled to
               9 attorneys' fees and costs. Defendant denies any remaining allegations in Paragraph
              10 ..
a             11                                         Prayer For Relief
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      ~~      ~G            89.      No answer is required to Plaintiff's Prayer for Relief, which merely sets
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~t3 3~¢'~     13 forth the type of relief sought by Plaintiff. To the extent an answer is required,
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Z ~» ~        14 Defendant denies, generally and specifically, each and every allegation and alleged
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_~ W o        15 entitlement to relief set forth under the heading Prayer for Relief.
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   ~¢=        16                                       Affirmative Defenses
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~ ~           17            90.      Without waiving or excusing the burden of proof ofthe named Plaintiff
                   or admitting Defendant has any burden of proof, Defendant asserts the following
                   Affirmative Defenses:
              20                      FIRST AND SEPARATE AFFIRMATIVE DEFENSE
              21                                    (Failure to State a Claim)
              22            91.      As a separate and DISTINCT affirmative defense to the Complaint,
              23 Defendant alleges the Complaint and each cause of action set forth therein fails to
              24 state sufficient facts to constitute a cause of action against Defendant.
              25                    SECOND SEPARATE AND AFFIRMATIVE DEFENSE
              26                       (Imposition of Penalties Would Violate Due Process)
              27            92.      As separate and DISTINCT affirmative defense to the Complaint,
              28 Defendant alleges that the imposition of replicating penalties, as applied to the
                   LEGAL:05742-0024/11798056.1                  _1 1_                                  Case No.
                      DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                 1 ~~ alleged facts and circumstances ofthis case, would violate Defendant's due process
                 2 ~~ rights under the Fourteenth Amendment ofthe United States Constitution and under
                 3 ~ the Constitution and laws of the State of California. Lockyer v. R.J. Reynolds
                 4 ~ Tobacco Co.(2005)37 Cal. 4th 707; Ratner v. Chemical Bank New York Trust Co.
                 5 ~ (S.D.N.Y. 1972)54 F.R.D. 412.
                 6                       THIRD SEPARATE AND AFFIRMATIVE DEFENSE
                 7                                            (Bad Faith)
                 8             93.       As a separate and DISTINCT affirmative defense to the Complaint,
                 9 ~ Defendant alleges that a reasonable opportunity for investigation and discovery will
                10 reveal and, on that basis, alleges Plaintiff's claims are unreasonable and/or were
a               11 filed in bad faith and/or are frivolous and, for that reason,justify an award of
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  ~~~                attorneys' fees and costs against Plaintiff and his attorneys. Defendant reserves the
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o2f 3~¢'~       13 right to amend its answer upon further investigation and discovery of facts
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Z ~»~           14 supporting this defense.
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=¢~W~a          15                    FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
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    ~¢=         16                                         (Breach of Duty)
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~ ~             17            94.       As a separate and DISTINCT affirmative defense to the Complaint,
                18 Defendant is informed and believes that a reasonable opportunity for investigation
                19 and discovery will reveal and, on that basis, alleges Plaintiff's claims, are barred by
                20 his own breach ofthe duties owed to Defendant under California Labor Code
                21 section 2854, 2856, 2857, 2858 and/or 2859.
                22                       FIFTH SEPARATE AND AFFIRMATIVE DEFENSE
                23                                             (Waiver)
                24            95.        As a separate and DISTINCT affirmative defense to the Complaint,
                25 ~ Defendant is informed and believes that a reasonable opportunity for investigation
                26 and discovery will reveal, and on that basis alleges, the Complaint and each cause of
                27 action set forth therein are barred by the doctrine of waiver. Defendant reserves the
                28 right to amend its answer upon further investigation and discovery of facts
                     LEGAL:05742-0024/1 1 798056.1                -12-                                Case No.
                       DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                       1 ~ supporting this defense.
                       2                      SIXTH SEPARATE AND AFFIRMATIVE DEFENSE
                       3                                           (Consent)
                       4            96.      As a separate and DISTINCT affirmative defense to the Complaint,
                       5 Defendant is informed and believes that a reasonable opportunity for investigation
                       6 and discovery will reveal, and on that basis alleges, the Complaint and each cause of
                       7 action set forth therein are barred by the doctrine of consent. Defendant reserves the
                       8 right to amend its answer upon further investigation and discovery of facts
                       9 supporting this defense.
                   10                     SEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
a                  11                                              (Estoppel)
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          m ~      1                97.      As a separate and DISTINCT affirmative defense to the Complaint,
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m        °'~x,     13 Defendant is informed and believes that a reasonable opportunity for investigation
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      `°Woo        14 and discovery will reveal, and on that basis alleges, the Complaint and each cause of
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           ~       15 action set forth therein are barred by the doctrine of estoppel. Defendant reserves
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  ~a~              16 the right to amend its answer upon further investigation and discovery of facts
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~ ~                17 supporting this defense.
                   18                       EIGHTH SEPARATE AND AFFIRMATIVE DEFENSE
                   19                                               (Caches)
                   20               98.      As a separate and DISTINCT affirmative defense to the Complaint,
                   21 Defendant is informed and believes that a reasonable opportunity for investigation
                   22 and discovery will reveal, and on that basis alleges, the Complaint and each cause of
                   23~ action set forth therein are barred by the doctrine of laches. Defendant reserves the
                   24 right to amend its answer upon further investigation and discovery of facts
                   25 supporting this defense.
                   26                        NINTH SEPARATE AND AFFIRMATIVE DEFENSE
                   27                                          (Unclean Hands)
                   28               99.      As a separate and DISTINCT affirmative defense to the Complaint,
                           LEGAL:05742-0024/11798056.1                _ 13_                               Case No.
                             DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
               Case 2:19-cv-04455-GW-JC Document 9 Filed 06/04/19 Page 14 of 20 Page ID #:199




                  1 ~ Defendant is informed and believes that a reasonable opportunity for investigation
                  2 and discovery will reveal, and on that basis alleges, the Complaint and each cause of
                  3 ~ action set forth therein are barred by the doctrine of unclean hands. Defendant
                  4 ~ reserves the right to amend its answer upon further investigation and discovery of
                  5 facts supporting this defense.
                  6                     TENTH SEPARATE AND AFFIRMATIVE DEFENSE
                  7                                 (After-Acquired Evidence)
                  8            100. As a separate and DISTINCT affirmative defense to the Complaint,
                  9 ~ Defendant alleges that, to the extent during the course ofthis litigation Defendant
                 10 acquires any evidence of wrongdoing of Plaintiff, which wrongdoing would have
a                11   materially affected the terms and conditions of Plaintiff's employment, or would
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                 12 have resulted in Plaintiff being either demoted, disciplined, or terminated, such
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                 13 after-acquired evidence shall bar Plaintiff's claim on liability or damages and shall
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Z ~»~            14 reduce such claim as provided by law.
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     0           15                 ELEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
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      ~¢~        16                                      (Uncertainty)
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~ ~              17            101. As a separate and DISTINCT affirmative defense to the Complaint,
                 18 Defendant alleges the Complaint, and the claims asserted therein, are uncertain.
                 19                  TWELFTH SEPARATE AND AFFIRMATIVE DEFENSE
                 20                                   (Failure to Exhaust)
                 21            102. As a separate and DISTINCT affirmative defense to the Complaint,
                 22 Defendant alleges that the Complaint and each cause of action set forth therein are
                 23 barred because Plaintiff failed to timely and completely exhaust his requisite
                 24 administrative and/or contractual remedies available to him under the California
                 25 Labor Code or other provisions oflaw prior to commencing this action.
                 26               THIRTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                 27                                  (Statute of Limitations)
                 28            103. As a separate and DISTINCT affirmative defense to the Complaint,
                      LEGAL:05742-0024/11798056.1              _ 14_                                 Case No.
                        DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                    1 ~~ Defendant alleges that each purported cause of action set forth in the Complaint is
                   2 ~ barred in whole or in part by the applicable statutes) of limitation, including
                   3 ~ without limitation, the three-year limitations period contained in California Code of
                   4 ~ Civil Procedure section 338; the six-month contractual limitation period; the one-
                   5 ~ year limitations period governing recovery of statutory penalties contained in
                   6 ~ California Code of Civil Procedure section 340(1); Cal. Labor Code section 203;
                   7 and/or the four year limitations period found in Business and Professions Code
                   8 section 17208.
                   9                FOURTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                  10                                  (Mitigation of Damages)
a                 11             104. As a separate and DISTINCT affirmative defense to the Complaint, and
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          r       ~~    to each cause of action contained therein, Defendant is informed and believes that a
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a2S 3~a'~         13 reasonable opportunity for investigation and discovery will reveal, and on that basis
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                  14 alleges, Plaintiff has failed to exercise reasonable care to mitigate his damages, if
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_¢~ Jg            15 ~ any were suffered, and that his right to recover against Defendant should be reduced
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  ~¢=             16 ~ and/or eliminated by such a failure.
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~ ~               17                  FIFTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                  IE:                                  (Lack of Specificity)
                  19             105. As a separate and DISTINCT affirmative defense to the Complaint,
                  20 ~ Defendant alleges Plaintiff has failed to allege special damages with requisite
                  21 specificity.
                  22                  SIXTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                  23                                  (Prejudgment Interest)
                  24             106. As a separate and DISTINCT affirmative defense to the Complaint,
                  25 ~ Defendant alleges that the Complaint fails to properly state a claim upon which
                  26 prejudgment interest may be awarded, as the damages claimed are not sufficiently
                  27 certain to allow an award of prejudgment interest.
                  28 ///
                        LEGAL:05742-0024/11798056.1             _ 15_                                    Case No.
                          DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                  1              SEVENTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                  2                        (Bus. &Prof. Code § 17200 —Violates Due Process)
                  3            107. As a separate and DISTINCT affirmative defense to the Complaint,
                  4 Defendant alleges the prosecution of a representative action on behalf ofthe general
                  5 ~ public under California Business and Professions Code section 17200 et seq., as
                      applied to the facts and circumstances ofthis case, would constitute a denial of
                  7 Defendant's due process rights, both substantive and procedural, in violation ofthe
                  8 California Constitution and the Fourteenth Amendment to the United States
                  9 Constitution.
                 10               EIGHTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
g                11                          (Bus. &Prof. Code § 17200 —Lack of Standing)
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                 12            108. As a separate and DISTINCT affirmative defense to the Complaint,
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,~ 3oQ ~         13 Defendant alleges that, with respect to Plaintiffls claims under California Business
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Z ~»~            14 and Professions Code section 17200 et seq., the named Plaintiff lacks standing.
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_¢~ Ja           15               NINETEENTH SEPARATE AND AFFIRMATIVE DEFENSE
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   ~¢~           16                                 (Bus. &Prof. Code § 17200 — No Penalties)
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~ ~              17            109. As a separate and DISTINCT affirmative defense to the Complaint,
                 18 Defendant is informed and believes that a reasonable opportunity for investigation
                 19 and discovery will reveal and, on that basis, alleges Plaintiff cannot recover lost
                 20 wages, penalties, or other monetary remedies under California Business and
                 21 Professions Code section 17200 et seq.
                 22                TWENTIETH SEPARATE AND AFFIRMATIVE DEFENSE
                 23                                        (Adequate Remedy at Law)
                 24            110. As a separate and DISTINCT affirmative defense to the Complaint,
                 25 Defendant alleges Plaintiff IS not entitled to equitable relief insofar as they have
                 26 adequate remedies at law.
                 27 ///
                 28 ///
                      LEGAL:05742-0024/11798056.1                     _ 16_                          Case No.
                        DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                   1              TWENTY-FIRST SEPARATE AND AFFIRMATIVE DEFENSE
                   2                     (Failure to State a Claim for Attorneys' Fees and Costs)
                   3            111. As a separate and DISTINCT affirmative defense to the Complaint,
                   4 ~ Defendant alleges that the Complaint fails to state a claim for attorneys' fees under
                   5 ~ Code of Civil Procedure 1021.5, Business and Professions Code section 17200, et

                   Q seq., or any other basis.
                   7           TWENTY-SECOND SEPARATE AND AFFIRMATIVE DEFENSE
                   8                                      (Unknown Conduct)
                   9            112. As a separate and DISTINCT affirmative defense to the Complaint,
                  10 Defendant alleges that the Complaint and/or each purported cause of action therein
a
J                 11 cannot be maintained against Defendant because if Defendant's employees
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      LLm~        12 (including Plaintiffjtook the actions alleged, such actions were committed outside
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~, ~ ~, ~,        13 the course and scope of such employees' employment, were not authorized, adopted
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                  14 or ratified by Defendant, and/or Defendant did not know of nor should they have
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      ~J d        15 known of such conduct.
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~     ~¢o         16             TWENTY-THIRD SEPARATE AND AFFIRMATIVE DEFENSE
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                  17                                      (No Harm Suffered)
                  18            113. As a separate and DISTINCT affirmative defense to the Complaint,
                  19 ~ Defendant is informed and believes that further investigation and discovery will
                  20 reveal, and on that basis alleges, that Plaintiff has not suffered and will not suffer
                  21 irreparable harm or any harm as a result of any of the alleged conduct of Defendant.
                  22           TWENTY-FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
                  23                                   (Amendment of Answer)
                  24            114. As a separate and DISTINCT affirmative defense to the Complaint,
                  25 Defendant alleges the Complaint does not describe the claims or facts being alleged
                  26 with sufficient particularity to permit Defendant to ascertain what other defenses
                  27 may exist. Defendant will rely on any and all further defenses that become available
                  28 or appear during discovery in this action and specifically reserves the right to amend
                       LEGAL:05742-0024/11798056.1                                                  Case No.
                                                             -17-
                         DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                   1 this Answer for purposes of asserting such additional affirmative defenses.
                  2              WI-~REFORE,Defendant Swift Transportation Co. of Arizona, LLC. prays
                  3 that:
                  4              1.        Plaintiffs Complaint be dismissed in its entirety with prejudice;
                  5              2.        Plaintiff take nothing by this action;
                  6              3.        Defendant be awarded judgment in its favor and against Plaintiff;
                  7              4.        Defendant be awarded its costs of suit and attorneys' fees incurred
                  8 herein; and
                  9              5.        Defendant be awarded such further relief as the Court deems just and
                 10 proper.
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J                11 DATED: June 4, 2019                            WOOD,SMITH,HENI~IING & BERMAN LLP
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Z ~W~o                                                             BY~        /s/ Stacey F. Blank
z ~.»            14
W ~ m U                                                                     KEVIN D. SMITH
=Q~J V
           a     15                                                         STACEY F. BLANK
~ ~w~
~
      J~ W
      ~¢o        16                                                Attorneys for Defendant Swift Transportation
o ~ ~' W
0 0~ W                                                             Co. of Arizona, LLC. erroneously named and
o                17                                                served as Swift Transportation Company,Inc.
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                        LEGAL:05742-0024/1 1798056.1                      i                                    Case No.
                          DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                                                    PROOF OF SERVICE
                 2       I am employed in the County ofLos Angeles, State of California. I am over
                   the age of eighteen years and not a party to the within action. My business address
                 3 is 10960 Wilshire Boulevard, 18th Floor, Los Angeles, CA 90024-3804.
                 4        On June 4, 2019, I served the followin document(s) described as
                   DEFENDANT SWIFT TRANSPORTATION CO.OF ARIZONA'S ANSWER
                 5 TO PLAINTIFF'S COMPLAINT on the interested parties in this action as
                   follows:
                 6
                                            SEE ATTACHED SERVICE LIST
                 7
                         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                 8 the documents) with the Clerk ofthe Court by~using the CM/ECF system.
                   Participants in the case who are registered CM/ECF users will be served by the
                 9 CMIECF system. Participants in the case who are not registered CM/ECF users will
                   be served by mail or by other means permitted by the court rules.
                10
                         I declare under penalty of perjury under the laws ofthe United States of
a
J               11 America that the foregoing is true and correct and that I am employed in the office
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    O '~ `o        of a member of the bar of this Court at whose direction the service was made.
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    ~   N ~              Executed on June 4, 2019, at Los Angers, California.
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                        DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
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                       1                                             SERVICE LIST
                                                         James Johnson v. Swift Transportation, Inc.
                       2
                       3 Jonathan P. LaCour, Esq.
                         Lisa Noveck, Esq
                       4 Emptoyees First Laborr~,aw P.C.
                         225 S. Lake Avenue, 3 Floor
                       5 Pasadena, CA 91101
                         Tel:(310)853-3461 /Fax:(949)743-
                       6 5442
                         Email: 'onathanl ierrelacour.com
                       7       lisan Terre acour.com
                         Attorneys or Plainti f, JAMES
                       8 JOHNSON
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                             DEFENDANT SWIFT TRANSPORTATION CO. OF ARIZONA'S ANSWER TO PLAINTIFF'S COMPLAINT
